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                                                Case 22-16740                      Doc 65             Filed 06/21/23                   Page 1 of 18

     Fill in this information to identify your case:

     Debtor 1                   Christopher John Cahill
                                First Name                          Middle Name                          Last Name

     Debtor 2
     (Spouse if, filing)        First Name                          Middle Name                          Last Name


     United States Bankruptcy Court for the:                  DISTRICT OF MARYLAND

     Case number           0:22-bk-16740
     (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                      amended filing



    Official Form 106Sum
    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
    your original forms, you must fill out a new Summary and check the box at the top of this page.

     Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

     1.     Schedule A/B: Property (Official Form 106A/B)
            1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $          3,900,000.00

            1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             928,058.54

            1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $          4,828,058.54

     Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

     2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
            2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $          2,788,992.18

     3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
            3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

            3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $          3,356,185.52


                                                                                                                                        Your total liabilities $              6,145,177.70


     Part 3:        Summarize Your Income and Expenses

     4.     Schedule I: Your Income (Official Form 106I)
            Copy your combined monthly income from line 12 of Schedule I................................................................................             $                4,170.66

     5.     Schedule J: Your Expenses (Official Form 106J)
            Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $              65,387.33

     Part 4:        Answer These Questions for Administrative and Statistical Records

     6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
                 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

               Yes
     7.     What kind of debt do you have?

                    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or household
                    purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
                court with your other schedules.
     Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                         page 1 of 2
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DocuSign Envelope ID: 502CF54D-36AE-45EA-B63C-7DA28202203F
                                            Case 22-16740                Doc 65     Filed 06/21/23            Page 2 of 18
     Debtor 1      Christopher John Cahill                                                    Case number (if known) 0:22-bk-16740

     8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
           122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                        $


     9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                             Total claim
           From Part 4 on Schedule E/F, copy the following:
           9a. Domestic support obligations (Copy line 6a.)                                                   $

           9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $

           9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $

           9d. Student loans. (Copy line 6f.)                                                                 $

           9e. Obligations arising out of a separation agreement or divorce that you did not report as
               priority claims. (Copy line 6g.)                                                               $

           9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$


           9g. Total. Add lines 9a through 9f.                                                           $




    Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information             page 2 of 2
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                                                   Case 22-16740                           Doc 65         Filed 06/21/23              Page 3 of 18

     Fill in this information to identify your case and this filing:

     Debtor 1                     Christopher John Cahill
                                  First Name                                 Middle Name                    Last Name

     Debtor 2
     (Spouse, if filing)          First Name                                 Middle Name                    Last Name


     United States Bankruptcy Court for the:                       DISTRICT OF MARYLAND

     Case number             0:22-bk-16740                                                                                                                             Check if this is an
                                                                                                                                                                       amended filing



    Official Form 106A/B
    Schedule A/B: Property                                                                                                                                            12/15
    In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
    think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
    Answer every question.

     Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

    1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

            No. Go to Part 2.
            Yes. Where is the property?




     1.1                                                                             What is the property? Check all that apply
             13312 Drew Lane                                                                Single-family home                          Do not deduct secured claims or exemptions. Put
             Street address, if available, or other description
                                                                                                                                        the amount of any secured claims on Schedule D:
                                                                                            Duplex or multi-unit building               Creditors Who Have Claims Secured by Property.
                                                                                            Condominium or cooperative
                                                                                            Manufactured or mobile home
                                                                                                                                        Current value of the      Current value of the
             Potomac                           MD        20854                              Land                                        entire property?          portion you own?
             City                              State              ZIP Code                  Investment property                             $2,200,000.00               $2,200,000.00
                                                                                            Timeshare
                                                                                                                                        Describe the nature of your ownership interest
                                                                                            Other
                                                                                                                                        (such as fee simple, tenancy by the entireties, or
                                                                                     Who has an interest in the property? Check one     a life estate), if known.
                                                                                            Debtor 1 only                               Fee Simple
             Montgomery                                                                     Debtor 2 only
             County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                            Check if this is community property
                                                                                            At least one of the debtors and another         (see instructions)
                                                                                     Other information you wish to add about this item, such as local
                                                                                     property identification number:




    Official Form 106A/B                                                                   Schedule A/B: Property                                                                    page 1
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                                                     Case 22-16740                       Doc 65           Filed 06/21/23                 Page 4 of 18
     Debtor 1            Christopher John Cahill                                                                                       Case number (if known)          0:22-bk-16740
               If you own or have more than one, list here:
     1.2                                                                            What is the property? Check all that apply
               3401 Lowell Street, NW                                                        Single-family home                              Do not deduct secured claims or exemptions. Put
               Street address, if available, or other description
                                                                                                                                             the amount of any secured claims on Schedule D:
                                                                                             Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.
                                                                                             Condominium or cooperative
                                                                                             Manufactured or mobile home
                                                                                                                                             Current value of the           Current value of the
               Washington                        DC        20016                             Land                                            entire property?               portion you own?
               City                              State              ZIP Code                 Investment property                                 $1,700,000.00                   $1,700,000.00
                                                                                             Timeshare
                                                                                                                                             Describe the nature of your ownership interest
                                                                                             Other
                                                                                                                                             (such as fee simple, tenancy by the entireties, or
                                                                                    Who has an interest in the property? Check one           a life estate), if known.
                                                                                             Debtor 1 only                                   Fee Simple
               District of Columbia                                                          Debtor 2 only
               County                                                                        Debtor 1 and Debtor 2 only
                                                                                                                                                  Check if this is community property
                                                                                             At least one of the debtors and another              (see instructions)
                                                                                    Other information you wish to add about this item, such as local
                                                                                    property identification number:




     2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
        pages you have attached for Part 1. Write that number here...........................................................................=>                               $3,900,000.00


     Part 2: Describe Your Vehicles

    Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
    someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

    3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

               No
               Yes

                                                                                                                                              Do not deduct secured claims or exemptions. Put
         3.1     Make:         BMW                                             Who has an interest in the property? Check one                 the amount of any secured claims on Schedule D:
                 Model:        X5                                                 Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
                 Year:         2016                                               Debtor 2 only                                               Current value of the          Current value of the
                 Approximate mileage:                        95000                Debtor 1 and Debtor 2 only                                  entire property?              portion you own?
                 Other information:                                               At least one of the debtors and another


                                                                                  Check if this is community property                                 $17,000.00                     $17,000.00
                                                                                   (see instructions)



                                                                                                                                              Do not deduct secured claims or exemptions. Put
         3.2     Make:         Volvo                                           Who has an interest in the property? Check one                 the amount of any secured claims on Schedule D:
                 Model:        XC60                                               Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
                 Year:         2021                                               Debtor 2 only                                               Current value of the          Current value of the
                 Approximate mileage:                        25000                Debtor 1 and Debtor 2 only                                  entire property?              portion you own?
                 Other information:                                               At least one of the debtors and another


                                                                                  Check if this is community property                                 $38,992.00                     $38,992.00
                                                                                   (see instructions)




    Official Form 106A/B                                                                Schedule A/B: Property                                                                               page 2
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     Debtor 1           Christopher John Cahill                                                                         Case number (if known)      0:22-bk-16740

                                                                                                                                 Do not deduct secured claims or exemptions. Put
         3.3    Make:      Volvo                                   Who has an interest in the property? Check one                the amount of any secured claims on Schedule D:
                Model:     XC60                                          Debtor 1 only                                           Creditors Who Have Claims Secured by Property.
                Year:      2022                                          Debtor 2 only                                           Current value of the      Current value of the
                Approximate mileage:               10000                 Debtor 1 and Debtor 2 only                              entire property?          portion you own?
                Other information:                                       At least one of the debtors and another
                Leased (hence 0% interest)
                                                                         Check if this is community property                             $57,800.00                         $0.00
                                                                          (see instructions)



                                                                                                                                 Do not deduct secured claims or exemptions. Put
         3.4    Make:      Ford                                    Who has an interest in the property? Check one                the amount of any secured claims on Schedule D:
                Model:     F-150                                         Debtor 1 only                                           Creditors Who Have Claims Secured by Property.
                Year:      2017                                          Debtor 2 only                                           Current value of the      Current value of the
                Approximate mileage:               66000                 Debtor 1 and Debtor 2 only                              entire property?          portion you own?
                Other information:                                       At least one of the debtors and another
                Owned jointly with Botanical
                Decorators, Inc.                                         Check if this is community property                             $30,192.00                 $15,096.00
                                                                          (see instructions)




    4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
         Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

               No
               Yes

         4.1    Make:                                              Who has an interest in the property? Check one
                                                                                                                                 Do not deduct secured claims or exemptions. Put
                                                                                                                                 the amount of any secured claims on Schedule D:
                Model:                                                   Debtor 1 only                                           Creditors Who Have Claims Secured by Property.
                                                                                                                                                           Current value of the
                Year:                                                    Debtor 2 only                                           Current value of the      portion you own?
                                                                         Debtor 1 and Debtor 2 only                              entire property?
                Other information:                                       At least one of the debtors and another
                                                                         Check if this is community property                              $1,500.00                   $1,500.00
                3 Vespas                                                  (see instructions)




     5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
       .pages you have attached for Part 2. Write that number here.............................................................................=>                $72,588.00

     Part 3: Describe Your Personal and          Household Items
     Do you own or have any legal or equitable interest in any of the following items?                                                                  Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.
    6.    Household goods and furnishings
          Examples: Major appliances, furniture, linens, china, kitchenware
            No
            Yes. Describe.....
                                        (See attached)                                                                                                               $20,000.00

                                        Two draw beverage center.
                                        Washer and Dryer
                                        Outdoor grilling station
                                        ?18? wide wine cooler                                                                                                            $700.00


    7.    Electronics
          Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                    including cell phones, cameras, media players, games
            No
            Yes. Describe.....




    Official Form 106A/B                                                       Schedule A/B: Property                                                                        page 3
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     Debtor 1       Christopher John Cahill                                                                Case number (if known)    0:22-bk-16740

                                        4 TV?s
                                        1 DVD Player
                                        4 Video Game Consoles
                                        15 Smart / Speakers
                                        5 Firestick/Apple TV
                                        6 Routers Wi-Fi devices / Modems
                                        4 Sonos Controllers (old version)
                                        2 Compact printer/scanner
                                        4 apple cell phones 2 (13) 2 (8)
                                        2 tablets
                                        One CD player                                                                                                     $500.00


    8.    Collectibles of value
          Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                     other collections, memorabilia, collectibles
            No
            Yes. Describe.....
                                        Paintings:
                                        ?4?x5? Acrylic modern abstract
                                        ?4?x4? Acrylic modern abstract
                                        ?2? x 4? Acrylic Modern abstract
                                        ?Two three-foot square modern abstracts
                                        ?Three charcoal and bees-wax modern 2?x3?
                                        ?One watercolor 1?x30? print
                                        ?Two Brooks oil figure paintings 18?x18? and 2?x2?
                                        ?Three photographic prints
                                        ?Four framed antique framed botanicals
                                        oEight matted not framed antique botanical prints
                                        Collectable Glassware:
                                        ?Judith Lieber clutch and mirror
                                        ?Handblown glass bowl *
                                        ?Waterford four season vase *
                                        ?Matching set of Lenox vases *
                                        ?Two small Waterford Vases *
                                        ?Crystal and China
                                        ?2 Glass Foo Dogs                                                                                             $15,000.00

                                        Coin collection                                                                                                   $100.00


    9.    Equipment for sports and hobbies
          Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
                    musical instruments
            No
            Yes. Describe.....

    10.    Firearms
           Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe.....

    11.    Clothes
           Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe.....
                                        Suits, dress clothes, casual wearing clothes, jackets, sweaters                                                   $500.00


    12.    Jewelry
           Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
            No
            Yes. Describe.....
                                        Breitling watch (damaged), wedding ring                                                                         $2,500.00

                                        Rolex watch                                                                                                     $4,000.00


    Official Form 106A/B                                                 Schedule A/B: Property                                                               page 4
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     Debtor 1       Christopher John Cahill                                                             Case number (if known)   0:22-bk-16740
    13.   Non-farm animals
          Examples: Dogs, cats, birds, horses
           No
           Yes. Describe.....
                                        Pug, miniature boxer                                                                                           $100.00


    14.   Any other personal and household items you did not already list, including any health aids you did not list
           No
           Yes. Give specific information.....


     15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
         for Part 3. Write that number here ..............................................................................                     $43,400.00


     Part 4: Describe Your Financial Assets
     Do you own or have any legal or equitable interest in any of the following?                                                        Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

    16.   Cash
          Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
           No
           Yes................................................................................................................
                                                                                                           Cash                                          $55.00


    17.   Deposits of money
          Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                        institutions. If you have multiple accounts with the same institution, list each.
           No
           Yes........................                                     Institution name:


                                          17.1.    Checking                  Sandy Spring Bank                                                       $9,629.16



                                          17.2.    Checking                  Sandy Spring Bank                                                       $4,046.96


    18.   Bonds, mutual funds, or publicly traded stocks
          Examples: Bond funds, investment accounts with brokerage firms, money market accounts
           No
           Yes..................        Institution or issuer name:

    19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership,
          and joint venture
           No
           Yes. Give specific information about them...................
                                     Name of entity:                                          % of ownership:
                                     Botanical Decorators, Inc. (debtor in bankruptcy)                         %                           $0.01

                                             CJ Cahill Design Build Inc. (in bankruptcy)                                 %                                 $0.01

                                             CJC & Associates Inc.                                            100        %                                 $0.01


    20.   Government and corporate bonds and other negotiable and non-negotiable instruments
          Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
          Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific information about them
                                             Issuer name:

    21.   Retirement or pension accounts
          Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
           No

    Official Form 106A/B                                                 Schedule A/B: Property                                                            page 5
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            Yes. List each account separately.
                                    Type of account:                        Institution name:
                                          401(k)                            John Hancock                                                         $754,243.46


    22.   Security deposits and prepayments
          Your share of all unused deposits you have made so that you may continue service or use from a company
          Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
           No
           Yes. .....................                               Institution name or individual:

    23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
           No
           Yes.............   Issuer name and description.

    24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
        26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............  Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

    25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
           No
           Yes. Give specific information about them...

    26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
          Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific information about them...

    27.   Licenses, franchises, and other general intangibles
          Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific information about them...

     Money or property owed to you?                                                                                                   Current value of the
                                                                                                                                      portion you own?
                                                                                                                                      Do not deduct secured
                                                                                                                                      claims or exemptions.

    28.   Tax refunds owed to you
           No
           Yes. Give specific information about them, including whether you already filed the returns and the tax years.......




                                                             May receive a tax refund for 2022                                                        Unknown


                                                             Refund for taxes withheld on sale of
                                                                 Delaware residence                           State                                $44,094.93


    29.   Family support
          Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information......


    30.   Other amounts someone owes you
          Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay,    workers’ compensation, Social Security
                    benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information..
                                                         Has loaned money to various people over time but does not have
                                                         a realistic expectation of repayment and none of the loans are
                                                         documented with promissory notes                                                                  $1.00


    31.   Interests in insurance policies
          Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
           No
           Yes. Name the insurance company of each policy and list its value.
    Official Form 106A/B                                            Schedule A/B: Property                                                                 page 6
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     Debtor 1         Christopher John Cahill                                                                                             Case number (if known)       0:22-bk-16740
                                                  Company name:                                                              Beneficiary:                                  Surrender or refund
                                                                                                                                                                           value:

    32.    Any interest in property that is due you from someone who has died
          If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
          someone has died.
            No
            Yes. Give specific information..


    33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
          Examples: Accidents, employment disputes, insurance claims, or rights to sue
           No
           Yes. Describe each claim.........

    34.    Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
            No
            Yes. Describe each claim.........

    35.    Any financial assets you did not already list
            No
            Yes. Give specific information..

     36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
         for Part 4. Write that number here.....................................................................................................................                $812,070.54

     Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

    37.   Do you own or have any legal or equitable interest in any business-related property?
           No. Go to Part 6.
           Yes.    Go to line 38.



     Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

    46.    Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
               No. Go to Part 7.
               Yes. Go to line 47.


     Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above

    53.   Do you have other property of any kind you did not already list?
          Examples: Season tickets, country club membership
           No
           Yes. Give specific information.........

     54. Add the dollar value of all of your entries from Part 7. Write that number here                                        ....................................                    $0.00

     Part 8:        List the Totals of Each Part of this Form

     55. Part 1: Total real estate, line 2 ......................................................................................................................                $3,900,000.00
     56. Part 2: Total vehicles, line 5                                                                        $72,588.00
     57. Part 3: Total personal and household items, line 15                                                   $43,400.00
     58. Part 4: Total financial assets, line 36                                                              $812,070.54
     59. Part 5: Total business-related property, line 45                                                           $0.00
     60. Part 6: Total farm- and fishing-related property, line 52                                                  $0.00
     61. Part 7: Total other property not listed, line 54                                           +               $0.00

     62. Total personal property. Add lines 56 through 61...                                                  $928,058.54               Copy personal property total                $928,058.54

     63. Total of all property on Schedule A/B. Add line 55 + line 62
                                                                                                                                                                              $4,828,058.54



    Official Form 106A/B                                                              Schedule A/B: Property                                                                                 page 7
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     Fill in this information to identify your case:

     Debtor 1                 Christopher John Cahill
                              First Name                        Middle Name                  Last Name

     Debtor 2
     (Spouse if, filing)      First Name                        Middle Name                  Last Name


     United States Bankruptcy Court for the:             DISTRICT OF MARYLAND

     Case number           0:22-bk-16740
     (if known)                                                                                                                               Check if this is an
                                                                                                                                              amended filing


    Official Form 106C
    Schedule C: The Property You Claim as Exempt
    4/22

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
    the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
    needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
    case number (if known).

    For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
    specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
    any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
    funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
    exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
    to the applicable statutory amount.

     Part 1:        Identify the Property You Claim as Exempt

     1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
               You are claiming state and federal nonbankruptcy exemptions.               11 U.S.C. § 522(b)(3)
               You are claiming federal exemptions.            11 U.S.C. § 522(b)(2)

     2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
          Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
          Schedule A/B that lists this property                    portion you own
                                                                   Copy the value from    Check only one box for each exemption.
                                                                   Schedule A/B

          13312 Drew Lane, Potomac, MD 20854                             $2,200,000.00                                             11 U.S.C. § 522(b)(3)(B)
          Montgomery County
          Line from Schedule A/B: 1.1                                                          100% of fair market value, up to
                                                                                               any applicable statutory limit

          3401 Lowell Street, NW, Washington,                            $1,700,000.00                                             11 U.S.C. § 522(b)(3)(B)
          DC 20016
          District of Columbia County                                                          100% of fair market value, up to
          Line from Schedule A/B: 1.2                                                          any applicable statutory limit


          2016 BMW X5 95000 miles                                          $17,000.00                                              11 U.S.C. § 522(d)(2)
          Line from Schedule A/B: 3.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

          2021 Volvo XC60 25000 miles                                      $38,992.00                                              11 U.S.C. § 522(d)(2)
          Line from Schedule A/B: 3.2
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

          2021 Volvo XC60 25000 miles                                      $38,992.00                                              11 U.S.C. § 522(d)(5)
          Line from Schedule A/B: 3.2
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit




    Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                     page 1 of 5
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     Debtor 1    Christopher John Cahill                                                                     Case number (if known)     0:22-bk-16740
         Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
         Schedule A/B that lists this property                     portion you own
                                                                   Copy the value from    Check only one box for each exemption.
                                                                   Schedule A/B

         2017 Ford F-150 66000 miles                                     $15,096.00                                                   11 U.S.C. § 522(d)(5)
         Owned jointly with Botanical
         Decorators, Inc.                                                                      100% of fair market value, up to
         Line from Schedule A/B: 3.4                                                           any applicable statutory limit


         3 Vespas                                                         $1,500.00                                                   11 U.S.C. § 522(d)(5)
         Line from Schedule A/B: 4.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

         (See attached)                                                  $20,000.00                                                   11 U.S.C. § 522(d)(3)
         Line from Schedule A/B: 6.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

         (See attached)                                                  $20,000.00                                                   11 U.S.C. § 522(b)(3)(B)
         Line from Schedule A/B: 6.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

         Two draw beverage center.                                           $700.00                                                  11 U.S.C. § 522(d)(3)
         Washer and Dryer
         Outdoor grilling station                                                              100% of fair market value, up to
         ?18? wide wine cooler                                                                 any applicable statutory limit
         Line from Schedule A/B: 6.2

         Two draw beverage center.                                           $700.00                                                  11 U.S.C. § 522(b)(3)(B)
         Washer and Dryer
         Outdoor grilling station                                                              100% of fair market value, up to
         ?18? wide wine cooler                                                                 any applicable statutory limit
         Line from Schedule A/B: 6.2

         4 TV?s                                                              $500.00                                                  11 U.S.C. § 522(d)(3)
         1 DVD Player
         4 Video Game Consoles                                                                 100% of fair market value, up to
         15 Smart / Speakers                                                                   any applicable statutory limit
         5 Firestick/Apple TV
         6 Routers Wi-Fi devices / Modems
         4 Sonos Controllers (old version)
         2 Compact printer/scanner
         4 apple cell phones 2 (13) 2 (8)
         2 tablets
         One CD player
         Line from Schedule A/B: 7.1

         4 TV?s                                                              $500.00                                                  11 U.S.C. § 522(b)(3)(B)
         1 DVD Player
         4 Video Game Consoles                                                                 100% of fair market value, up to
         15 Smart / Speakers                                                                   any applicable statutory limit
         5 Firestick/Apple TV
         6 Routers Wi-Fi devices / Modems
         4 Sonos Controllers (old version)
         2 Compact printer/scanner
         4 apple cell phones 2 (13) 2 (8)
         2 tablets
         One CD player
         Line from Schedule A/B: 7.1




    Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 2 of 5
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     Debtor 1    Christopher John Cahill                                                                     Case number (if known)     0:22-bk-16740
         Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
         Schedule A/B that lists this property                     portion you own
                                                                   Copy the value from    Check only one box for each exemption.
                                                                   Schedule A/B

         Paintings:                                                      $15,000.00                                                   11 U.S.C. § 522(d)(3)
         ?4?x5? Acrylic modern abstract
         ?4?x4? Acrylic modern abstract                                                        100% of fair market value, up to
         ?2? x 4? Acrylic Modern abstract                                                      any applicable statutory limit
         ?Two three-foot square modern
         abstracts
         ?Three charcoal and bees-wax modern
         2?x3?
         ?One watercolor 1?x30? print
         ?Two Brooks oil figure paintings
         18?x18? and 2?x2?
         ?Three photographic prints
         ?Four framed antique framed botanicals
         oEight matted not framed antique
         botanical prints
         Collectable Glassware:
         ?Judith Lieber clutch and mirror
         ?Handblown glass bowl *
         ?Waterford four season vase *
         ?Matching set of Lenox vases *
         ?Two small Waterford Vases *
         ?Crystal and China
         ?2 Glass Foo Dogs
         Line from Schedule A/B: 8.1

         Paintings:                                                      $15,000.00                                                   11 U.S.C. § 522(d)(5)
         ?4?x5? Acrylic modern abstract
         ?4?x4? Acrylic modern abstract                                                        100% of fair market value, up to
         ?2? x 4? Acrylic Modern abstract                                                      any applicable statutory limit
         ?Two three-foot square modern
         abstracts
         ?Three charcoal and bees-wax modern
         2?x3?
         ?One watercolor 1?x30? print
         ?Two Brooks oil figure paintings
         18?x18? and 2?x2?
         ?Three photographic prints
         ?Four framed antique framed botanicals
         oEight matted not framed antique
         botanical prints
         Collectable Glassware:
         ?Judith Lieber clutch and mirror
         ?Handblown glass bowl *
         ?Waterford four season vase *
         ?Matching set of Lenox vases *
         ?Two small Waterford Vases *
         ?Crystal and China
         ?2 Glass Foo Dogs
         Line from Schedule A/B: 8.1




    Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 3 of 5
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     Debtor 1    Christopher John Cahill                                                                     Case number (if known)     0:22-bk-16740
         Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
         Schedule A/B that lists this property                     portion you own
                                                                   Copy the value from    Check only one box for each exemption.
                                                                   Schedule A/B

         Paintings:                                                      $15,000.00                                                   11 U.S.C. § 522(b)(3)(B)
         ?4?x5? Acrylic modern abstract
         ?4?x4? Acrylic modern abstract                                                        100% of fair market value, up to
         ?2? x 4? Acrylic Modern abstract                                                      any applicable statutory limit
         ?Two three-foot square modern
         abstracts
         ?Three charcoal and bees-wax modern
         2?x3?
         ?One watercolor 1?x30? print
         ?Two Brooks oil figure paintings
         18?x18? and 2?x2?
         ?Three photographic prints
         ?Four framed antique framed botanicals
         oEight matted not framed antique
         botanical prints
         Collectable Glassware:
         ?Judith Lieber clutch and mirror
         ?Handblown glass bowl *
         ?Waterford four season vase *
         ?Matching set of Lenox vases *
         ?Two small Waterford Vases *
         ?Crystal and China
         ?2 Glass Foo Dogs
         Line from Schedule A/B: 8.1

         Coin collection                                                     $100.00                                                  11 U.S.C. § 522(d)(5)
         Line from Schedule A/B: 8.2
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

         Suits, dress clothes, casual wearing                                $500.00                                                  11 U.S.C. § 522(d)(5)
         clothes, jackets, sweaters
         Line from Schedule A/B: 11.1                                                          100% of fair market value, up to
                                                                                               any applicable statutory limit

         Suits, dress clothes, casual wearing                                $500.00                                                  11 U.S.C. § 522(d)(3)
         clothes, jackets, sweaters
         Line from Schedule A/B: 11.1                                                          100% of fair market value, up to
                                                                                               any applicable statutory limit

         Breitling watch (damaged), wedding                               $2,500.00                                                   11 U.S.C. § 522(d)(4)
         ring
         Line from Schedule A/B: 12.1                                                          100% of fair market value, up to
                                                                                               any applicable statutory limit

         Breitling watch (damaged), wedding                               $2,500.00                                                   11 U.S.C. § 522(d)(5)
         ring
         Line from Schedule A/B: 12.1                                                          100% of fair market value, up to
                                                                                               any applicable statutory limit

         Rolex watch                                                      $4,000.00                                                   11 U.S.C. § 522(d)(4)
         Line from Schedule A/B: 12.2
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

         Rolex watch                                                      $4,000.00                                                   11 U.S.C. § 522(d)(5)
         Line from Schedule A/B: 12.2
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit




    Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 4 of 5
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     Debtor 1    Christopher John Cahill                                                                     Case number (if known)     0:22-bk-16740
         Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
         Schedule A/B that lists this property                     portion you own
                                                                   Copy the value from    Check only one box for each exemption.
                                                                   Schedule A/B

         Pug, miniature boxer                                                $100.00                                                  11 U.S.C. § 522(b)(3)(B)
         Line from Schedule A/B: 13.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

         Sandy Spring Bank                                                 $9,629.16                                                  11 U.S.C. § 522(b)(3)(B)
         Line from Schedule A/B: 17.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

         Sandy Spring Bank                                                 $4,046.96                                                  11 U.S.C. § 522(b)(3)(B)
         Line from Schedule A/B: 17.2
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

         John Hancock                                                    $754,243.46                                                  11 U.S.C. § 522(b)(3)(C)
         Line from Schedule A/B: 21.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

         May receive a tax refund for 2022                                 Unknown                                                    11 U.S.C. § 522(b)(3)(B)
         Line from Schedule A/B: 28.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

         Refund for taxes withheld on sale of                             $44,094.93                                                  11 U.S.C. § 522(b)(3)(B)
         Delaware residence
         Line from Schedule A/B: 28.4                                                          100% of fair market value, up to
                                                                                               any applicable statutory limit


     3. Are you claiming a homestead exemption of more than $189,050?
        (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
                No
                Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                       No
                       Yes




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                                                 Exhibit – Debtor’s Furniture
                     Den:
                             Two side chairs
                             5’ round coffee table
                             Couch
                             Bench
                             Toe glass wall tables 8” x 3’
                             Desk
                             Desk chair
                             Floor lamp
                             Rug


                     Living room and dining room:
                             Two couches
                             Two side chairs
                             One wood side table
                             Two glass end tables
                             Coffee table 2’x3’
                             Chest of draws
                             Three table lamps
                             Dining table for eight
                             Eight dining chairs
                             Two rugs


                     Kitchen and Breakfast Room:
                             48” round table
                             Four chairs
                             Two shelf units (book shelves)
                             Four Counter Stools
                             Rug


                     Foyer:
                             3’ mirrored entry table
                             2 Campaign chests
                             Four-foot bench
                             2 Rugs
                             Mirror
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                     Master Bedroom:
                            Queen size bed
                            5’ double dresser
                            30” side chest *
                            Two end tables
                            Three side chairs
                            Floor mirror
                            2 rugs
                            2 table lamps
                            Bench
                            Storage island
                            Display pedestal


                     Son’s room:
                            Queen Bed
                            3’ Desk
                            Desk chair
                            5’ long double dresser
                            Side chair
                            Rug
                            2 table lamps


                     Daughters room:
                            Twin Bed
                            5’ double dresser
                            Two side tables
                            Side chair
                            Rug
                            Table lamp


                     Upstairs hall:
                            French Day bed


                     Basement:
                            Leather sectional *
                            Three side chairs (Two owned before marriage)
                            5’ round glass coffee table *
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                         5’ gaming craft table
                         Six Lucite chairs *
                         5’ long buffet
                         Rug
                         Round ottoman
                     Basement guest room:
                            Queen platform bed *
                            Two side tables *
                            Two nightstands *
                            Highboy dresser
                            Two leather day beds *
                            Two table lamps


                     Playroom:
                            One daybed that matches daughters set
                            Three storage cubbies


                     Exterior:
                            1 Couch
                            4 Club Chairs
                            3’ round coffee table
                            2 Ottomans
                            40” round table and four side chairs
                            Two hanging daybeds
                            Three ceramic stools
                            Table


                     Storage:
                            One gaming table and four chairs*
                            One king platform bed and mattress*
                            One swivel chair*
                            Two benches
                            One dresser
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                                                                   United States Bankruptcy Court
                                                                           District of Maryland
     In re      Christopher John Cahill                                                                           Case No.   0:22-bk-16740
                                                                                    Debtor(s)                     Chapter    7



                               DECLARATION CONCERNING DEBTOR'S AMENDED SCHEDULES

                                    DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                            I declare under penalty of perjury that I have read the foregoing Schedule A/B, Schedule C, consisting
                of     14     page(s), and that they are true and correct to the best of my knowledge, information, and belief.



     Date       June 21, 2023                                                     Signature
                                                                                                Christopher John Cahill
                                                                                                Debtor 1

        Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                         18 U.S.C. §§ 152 and 3571.




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